                   Case: 1:13-cr-00703 Document #: 45 Filed: 05/20/19 Page 1 of 8 PageID #:608



                                UNITED STATES DISTRICT COURT
                                                          Northern District of Illinois


              LTNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                 v.

                         ADEL DAOUD                                             Case Number:             l:13-CR-00703( I )

                                                                                USM Number:              43222-424



                                                                                Thomas Anthony Durkin and Joshua G. Herman
                                                                                Defendant's Attorney


THE DEFENDANT:
E pleaded guilfy to count(s) I (one), 2 (two) and 3 (three) of the Indictment.
0 pleaded nolo contendere to count(s) which was accepted by the court.
E was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                   Offense Ended             Count
 l8:373-0100.F Solicit/Commit Crime Of Violence - Murder                                                U2912012                 I
 18:1958-7 47 l.F Racketeering - Murder                                                                 lt28t20t2                2
 l8:l5l2A.F Tamper WWitness, Victim, Informant (lf Death Results)                                       v29t2012                 3




The defendant is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of I 984.

E the   defendant has been found not guilty on count(s)

E Count(s)      dismissed on the motion of the United States.

It is ordered that the defendant must notif, the United    States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must noti! the court and United States Attorney of material changes in economic circumstances.




                                                                                    Signature ofJ
                                                                                    Sharon             Coleman, United States District Judge

                                                                                    Name and Title of Judge

                                                                                               5'a*c- a'rl           I
                                             .l;, .'; r.': .:i ;;;'"1
                 Case: 1:13-cr-00703 Document #: 45 Filed: 05/20/19 Page 2 of 8 PageID #:609
ILND 2458 (Rev. 04/19/2019 Judgment in
                             a Criminal Case
Sheet 2 - lmnrisonment                                                                     Judgment-                                  Page 2   of8
DEFENDANT: ADEL DAOUD
CASE NUMBER: I : 13-CR-00703(1)
                                                               IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
 120 months as to counts I and2 of the Indictment; 140 months as to count 3 of the Indictment. Terms to run conculrent to each other and to
terms of imprisonment imposed in cases 12 CR 723-l and I 5 CR 487- 1 .

E         The court makes the following recommendations to the Bureau of Prisons: Defendant to serve his term of imprisonment at the

     Butner FCC facility or at the Pekin FCI facility.

B         The defendant is remanded to the custody of the United States Marshal.

tr        The defendant shall surrender to the United States Marshal for this dishict:

          traton
     D         as   notified by the United States Marshal.

     tr        The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

          tr         before 2:00 pm on

          D          as   notified by the United States Marshal.

          tr         as   notified by the Probation or Pretrial Services Office.




                                                                      RETURN

I have executed this judgment as follows:




Defendant delivered on                      to                                at                               , with a certified copy of this
judgment.




                                                                                        UNITED STATES MARSHAL


                                                                                   By
                                                                                        DEPUTY UNITED STATES MARSHAL
                       Case: 1:13-cr-00703 Document #: 45 Filed: 05/20/19 Page 3 of 8 PageID #:610
ILND 245D (Rev. 04129/2019) Judgment in   a   Criminal Case for Revocation
    - Supervised Release
Sheet 3                                                                                                                             Judgment   -   Page 3 of 8

DEFENDANT: ADEL DAOUD
CASE NUMBER: 1 : I 3-CR-00703(1)

           MANDATORY CONDITTONS OF SUPERVISED RELEASE PURSUANT TO                                                      18 U.S.C $ 3s83(d)

Upon release from imprisonment, you shall be on supervised release for a term of:
three (3) years as to counts one (l) and two (2) of the Indictment; five (5) years as to count three (3) of the Indictment. Terms to run
concurrent to each other and concurent to the terms of supervised release imposed in cases 12CR723-l and l5 CR487-1.

         You must report to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau ofPrisons. You shall report to sentencing Judge or one sitting in her stead, on status to review conditions after review of
medical/mental health record and conditions of MSR pursuant to 1 8 U.S.C. 3553(a). The court imposes those conditions identified by
checkmarks below:

During the period ofsupervised release:
 A (l ) you shall not commit another Federal,                State, or local crime.
 tr       (2) you shall not unlawfully possess a controlled substance.
 tr       (3) you shall affend a public, private, or private nonprofit offender rehabilitation
                                                                                             program that has been approved by the court,            if
                an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
                domestic violence crime, as defined in $ 3561(b).1
 tr       (4)   you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. $
                r6913).
 E        (5) you shallcooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 tr       (6) you shall refiain from any unlawful use of a controlled substance AND submit to one drug test within l5 days of release          on
                supervised release and at least two periodic tests thereafter, up to I 04 periodic tests for use of a controlled substance during
                each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
                ifreliable sentencing information indicates a low risk offuture substance abuse by the defendant.]

   DTSCRETToNARY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO r8 U.S.C $ 3s63(b) AND 18 U.S.C                                             S    3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term of supervised release because such
                             -
conditions are reasonably related  to the factors set forth in $ 3553(aXl) and (aX2XB). (C). and (D); such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (O. and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
 tr       (l)    you shall provide financial support to any dependents ifyou are financially able to do so.
 tr       Q)     you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ 3663(a) or
                 $   3663A(cXlXA)).
 tr       (3)     you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows: ,
                                                                                                                             "




 tr       (4)    you shall seek, and work conscientiously at, lawful employment or, if you are not gainfully employed, you shall pursue
                 conscientiously a course of study or vocational training that will equip you for employment.
 tr       (5) you shall reffain from engaging in the following occupation, business, or profession bearing a reasonably direct relationship
                 to the conduct constituting the offense, or engage in the following specified occupation, business, or profession only to a
                 stated degree or under stated circumstances; (if checked yes, please indicate restriction(s)) i,i;iiiiiiffi.
 El       (6) you shall not knowingly meet or communicate with any person whom you know to be engaged, or planning
                 to be engaged, in criminal activity and shall not:
                   tr visit the following type of places: I .
                   E knowingly meet or communicate with the following persons: Any persons who are, or claim to be, associated with a
          foreign terrorist organization (as defined in 8 U. S. C. I 189) , or who are, or claim to be, involved with violent acts, or advocating
          for acts of violence; and, communicating with any persons who are located outside of the United States with the exception to
          family members and persons who are located outside of the United States with the exception to family members and persons
          previously identified and approved by the Probation Office.
 tr       (7) you shall refrain from E any or E excessive use of alcohol (defined as E having a blood alcohol concentration
                greater than 0.08; or E         ), and from any use ofa narcotic drug or other controlled substance, as defined in $ I02
                of the Controlled Substances Act (21 U.S.C. $ 802), without a prescription by a licensed medical practitioner.
 A        (8) you shall not possess a firearm, destructive device, or other dangerous weapon.
                        Case: 1:13-cr-00703 Document #: 45 Filed: 05/20/19 Page 4 of 8 PageID #:611
ILND 245D (Rev.0412912019) Judgment in             a   Criminal Case for Revocation
    - Suoervised Release
Sheet 3                                                                                                                                Judgment- Page 4 of8

DEFENDANT: ADEL DAOUD
CASE NUMBER: 1 : I 3-CR-00703(1)

 a(e)tr                  you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                          include urine testing up to a maximum of 104 tests per year.
                   tr    you shall participate, at the direction of a probation officer, in a mental health treatment program, and shall take
                         any medications prescribed by the mental health treatment provider
                  tr    you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifu:
                         'l\ii::!i.ill,lr   i:.)

 tr       (10)    (intermittent confinement) you shall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                  intervals of time, totaling iffi.'iltillili,t: lno more than the lesser of one year or the term of imprisonment authorized for the
                  offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in
                  S3563(bXl0) shall be imposed only for a violation of a condition of supervised release in accordance with $ 3583(e)(2)
                  and only when facilities are available) for the following period ffiffiffi;
 tr (ll)           (community confinement): you shall reside at, or participate in the program of a community corrections facility
                  (including a facility maintained or under contract to the Bureau of Prisons) for all or pan of the term of supervised
                  release, for a period of #*' " months.
 tr       (12)     you shall work in community service tor :?;;iej:i-1_.h.9urs as directed by a probation officer.
 tr       (l 3)    you shall reside in the following place or ur"u,jr;:,,,,:#,or refrain from residing in a specified place or area: ffi ' ,
 tr       (14)     you shall refrain from knowingly leaving the federal judicial district where you are being supervised, unless
                  granted permission to leave by the court or a probation officer. The geographic area of the Northem District of
                  Illinois currently consists of the Illinois counties of Cook, DuPage, Grundy, Kane, Kendall, Lake, LaSalle, Will,
                  Boone, Carroll, DeKalb, Jo Daviess, Lee, McHenry, Ogle, Stephenson, Whiteside, and Winnebago.
 E        (ls)    you shall report to a probation officer as directed by the court or a probation officer.
 a        (16)    8 you shall permit a probation officer to visit you I at any reasonable time or E as specified: ,
                        E at home                 I at work                  E at school               I at a community             service location
                        E other reasonable location specified by a probation officer (excluding inside place of worship)
                    A you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
 A        Q7)     you shall notiry a probation officer withir.T2 hours, after becoming aware of any change in residence, employer, or
                 workplace and, absent constitutional or other legal privilege, answer inquiries by a probation officer. You shall answer
                 truthfully any inquiries by a probation officer, subject to any constitutional or other legal privilege.
 B        ( I 8) you shall notify a probation officer within 72 hours if after being arrested, charged with a crime, or questioned by a law
                 enforcement officer.
 tr       (19) (home confinement)
                 tr (a)(i) (home incarceration) for a period of _ months, you are restricted to your residence at all times except for medical
                        necessities and court appearances or other activities specifically approved by the court.
                 tr     (a)(ii) (home detention) for a period of _ months, you are restricted to your residence at all times except for
                        employment; education; religious services; medical, substance abuse, or mental health treatment; attorney visits; court
                        appearances; court-ordered obligations; or other activities pre-approved by the probation officer.
                 tr     (a)(iii) (curfew) for a period of_ months, you are restricted to your residence every day.
                 tr     from the times directed by the probation officer; or E from _ to _.
                 tr     (b) your compliance with this condition, as well as other court-imposed conditions of supervision, shall be monitored
                        by a form of location monitoring technology selected at the discretion of the probation officer, and you shall abide
                        by all technology requirements.
                 tr (c) you shall pay all or part of the cost of the location monitoring, at the daily contractual rate, if you are financially
                        able to do so.
 tr       (20) you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State, the
                 District of Columbia, or any other possession or territory of the United States, requiring payments by you for the support
                 and maintenance of a child or of a child and the parent with whom the child is living.
 tr       (21) (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                 determination on the issue of deportability by the appropriate authority in accordance with the laws under the Immigration
                 and Nationality Act and the established implementing regulations. If ordered deported, you shall not remain in or enter the
                 United States without obtaining, in advance, the express written consent of the United States Attorney General or the
                 United States Secretary of the Department of Homeland Security.
 A        (22) you shall satisfy such other special conditions as ordered below.
                     Case: 1:13-cr-00703 Document #: 45 Filed: 05/20/19 Page 5 of 8 PageID #:612
ILND 245D (Rev. 04/29/2019) Judgment in   a   Criminal Case for Revocation
Sheet3-SupervtsedR
DEFENDANT: ADEL DAOUD
CASE NUMBER: I : 1 3-CR-00703(1)
 tr (23) You shall submit your person, property,        house, residence, vehicle, papers [computers (as defined in 18 U.S.C. 1030(e)(l)),
              other electronic communications or data storage devices or media,] or office, to a search conducted by a United States
              Probation Officer(s). Failure to submit to a search may be grounds for revocation of release. You shall warn any other
              occupants that the premises may be subject to searches pursuant to this condition.
 tr    Q4)      Other:

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3563(bX22) and 3583(d)
The court imposes those conditions identified by checkmarks below:

During the term ofsupervised release:
 tr ( l) if you have not obtained a high school diploma or equivalent, you shall participate in        a General Educational
               Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 E (2)        you shall participate in an approved job skill'training program at the direction of a probation officer within the first 60
               days of placement on supervision.
 tr    (3)    you shall, if unemployed after the lrst 60 days of supervision, or if unemployed for 60 days after termination or lay-off
              from employment, perform at least         hours of community service per week at the direction ofthe probation office until
              gainfully employed. The total amount of community service required over your term of service shall not exceed Y
              hours.
 tr    (4)     you shall not maintain employment where you have access to other individual's personal information, including, but not
              limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 tr    (5)     you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer
               unless you are in compliance with the financial obligations imposed by this judgment.
 E (6)         you shall provide a probation officer with access to any requested financial information requested by the probation
               officer to monitor compliance with conditions of supervised release.
 tr    Q)      within 72 hours of any significant change in your economic circumstances that might affect your ability to pay
               restitution, fines, or special assessments, you must notifu the probation officer of the change.
 tr (8)       you shall file accurate income tax returns and pay all taxes, interest, and penalties as required by law.
 tr (9)       you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
              probation officer. You shall comply with all recommended treatment which may include psychological and physiological
              testing. You shall maintain use of all prescribed medications.
               tr You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                       United States Probation Office. You shall consent to the installation of computer monitoring software on all
                       identified computers to which you have access and to which the probation officer has legitimate access by right or
                       consent. The software may restrict and/or record any and all activity on the computer, including the capture of
                       keystrokes, application information, Internet use history, email correspondence, and chat conversations. A notice
                      will be placed on the computer at the time of installation to warn others of the existence of the monitoring software.
                       You shall not remove, tamper with, reverse engineer, or in any way circumvent the software.
               tr The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                      to satisfaction of other financial obligations imposed by this judgment.
                tr       You shall not possess or use at any location (including your place of employment), any computer, external storage
                         device, or any device with access to the Internet or any online computer service without the prior approval of a
                         probation officer. This includes any Internet service provider, bulletin board system, or any other public or private
                         network or email system
                tr       You shall not possess any device that could be used for covert photography without the prior approval ofa probation
                         officer.
                tr       You shall not view or possess child pornography.        If the treatment provider determines that exposure to other
                         sexually stimulating  material may  be detrimental to the  treatment process, or that additional conditions are likely to
                         assist the treatment process, such proposed conditions shall be promptly presented to the court, for a determination,
                         pursuant to 18 U.S.C. g 3583(eX2), regarding whether to enlarge or otherwise modiff the conditions of supervision
                         to include conditions consistent with the recommendations of the teatment provider.
           Case: 1:13-cr-00703
ILND 2458 (Rev. 04/19/20,l9 Judgment in
                                       Document #: 45 Filed: 05/20/19 Page 6 of 8 PageID #:613
                          a Criminal Case
                 Penalties
Sheet 5 - Criminal Monetarv                                                                  Judsment - Paee 6 of 8

DEFENDANT: ADELDAOUD
CASE NUMBER: I : l3-CR-00703(1)

                       tr      You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put you
                              in unsupervised private contact with any person under the age of 18, and you shall not knowingly visit
                                locations where persons under the age of I 8 regularly congregate, including parks, schools, school bus stops,
                                playgrounds, and childcare facilities. This condition does not apply to contact in the course of normal
                                commercial business or unintentional incidental contact. .
                        tl This condition does not apply to your family members: [Namesl
                        tr Your employment shall be restricted to the judicial district and division where you reside or are supervised, unless
                               approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the approval of
                               a probation officer, in order to allow the probation officer the opportunity to assess the level of risk to the community
                               you will pose if employed in a particular capacity. You shall not participate in any volunteer activity that may cause
                               you to come into direct contact with children except under circumstances approved in advance by a probation officer
                               and treatment provider.
                        tr You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and any
                               other financial information requested.
                        tl You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that impose
                               restrictions beyond those set forth in this order.
 tr    (   l0)         you shall pay to the Clerk of the Court any financial obligation ordered herein that remains unpaid at the
                       commencement of the term of supervised release, at a rate of not less than l0%o of the total of your gross earnings
                       minus federal and state income tax withholdings.
 tr    (   I   I   )   you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                       prior permission of the court.
 u     (12)            you shall pay to the Clerk of the Court $         as repayment to the United States of government funds you received during the
                       investigation of this offense. (The Clerk of the Court shallremit the funds to il       (tist bodr",Agency and,eddrcss.)
 tr    (13)            You shall observe one Reentry Court session, as instructed by your probation officer.
 tr    (l4)   Other: You shell.littsrid.vj ntox*e.*iiii:s.#+uu#elH$1fi,ffi-'$hb                   ef.     1&'dbS.$$41:         U$r ldd $i]by'ffi
       Probation Offic9, th€ Uni-ted States Attorney's Office for the Nor*rern District of lllinois, and the defendant, or upon order of the

       prob .idn-o,ffc€=

         You shall not possess or use ai any location (including your place oYitii$l4idsnti,i*y extemel s*orage devim'rpithbut the pr{gr
       ipproval of i probation offrcer.




       The cost of tfre monitoring snalt Ue paid        bi   Vou ar the montbly cotaasttlalffite; #yog,grp fr*arcialSgble, subject to satisfaction     of
       6*$         rfi#a CIidliid$M       flmfi. Wffiis'              t.

       You shall not possess or dse any device with access to any onli*e computer service ar any locafron (includipg place of ernployment)
       wittrout tlre prior appioval of a probation officer. This includes any Internet service provider, bilffetin b systeru or any other
       public or.private network oremail system.

                                                                                                    $lh-idbariCIn,:es a=,*re      .td:C.#$il#d   tn   :#M
                      Case: 1:13-cr-00703
ILND 2458 (Rev. 04/19/2019 Judgment in
                                               Document #: 45 Filed: 05/20/19 Page 7 of 8 PageID #:614
                                  a Criminal Case
                         Penalties
Sheet 5 - Criminal Monetarv                                                                          Judgment - Page 7 of 8

DEFENDANT: ADEL DAOUD
CASE NUMBER: l:13-CR-00703(1)


                                           CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                              Assessment        .IVTA Assessment*                          Fine                       Restitution
 TOTALS                                           s300.00                      s.00                     Waived                                s.00



 tr    The determination of restitution is deferred   until       - An Amended Judgment in a   Criminal Case   (Ao 245C)   will be entered after such
       determination.
 tr    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes   a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. S 3664(D, all nonfederal
       victims must be paid before the United States is paid.




      tr         Restitution amount ordered pursuant to plea agreement $

      tr         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
                 before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(f). All of the payment options on Sheet
                 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(9).
      tr         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                 tr              the interest requirement is waived for the

                 tr              the interest requirement for   the     is modified as follows:

      tr         The defendant's non-exempt assets, if any, are subject to immediate execution to satisff any outstanding restitution or fine
                 obligations.

      * Justice for Victims of Trafficking Act of 2015, Pub. L. No. I 14-22.
      * Findings for the total amount of losses are required under Chapters 109A, I 10, I l0A, and I l3A of Title          18 for offenses committed
      on or after September 13,1994, but before April23,1996.
                    Case: 1:13-cr-00703 Document #: 45 Filed: 05/20/19 Page 8 of 8 PageID #:615
ILND 2458 (Rev. 04/19/2019) Judgrnent in   a   Criminal Case
Sheet 6 - Schedule of Payments                                                                                                              Judgment   -   Page 8 of 8

DEFENDANT: ADEL DAOUD
CASE NUMBER:            1:   l3-CR-00703(1)
                                                           SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


       tr      Lump sum payment of $300.00 due immediately.

               tr        balance due not later than            ,or
               tr        balance due in accordance with        tr c, tr   D,   tr   E, or    E   F below; or



Btr            Payment to begin immediately (may be combined with                   E   C,   E   D, or   E   F below); or


Ctr            Payment in equal         (e.g. weekly, monthly, quarterly) installments of $                          over a period   of   (e.g., months or    years),to
               commence         (e.s.. 30 or 60 days) after the date of this judgment; or


       u       Payment in equal         (e.g. weekly, monthly, quarterly) installments of $       over a period of                        (e.g., months or years),       to
               commence         (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or


       tr      Payment during the term of supervised release will commence within          (e.e., 30 or 60 days) after release ftom imprisonment.
               The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or


       tr      Special instructions regarding the payment of criminal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

tr     Joint and Several

Case Number                                            Total Amount                     Joint and Several               Corresponding Payee,   if
Defendant and Co-Defendant Names                                                        Amount                          Appropriate
(including defendant number)

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

tr     The defendant shall pay the cost ofprosecution.


tl     The defendant shall pay the following court cost(s):


tr     The defendant shall forfeit the defendant's interest in the following properry to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court cost
